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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                 )
                                          )
             vs.                          )     Case No. 3:12-CR-128(7) RLM
                                          )
 RICKEY HEMPHILL                          )

                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on May 3, 2013 [Doc. No. 134].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Rickey Hemphill’s plea of guilty, and FINDS the defendant

 guilty of Count 1 of the Indictment, in violation of 18 U.S.C. § 1962(c).

       SO ORDERED.

       ENTERED:      May 28, 2013



                                           /s/ Robert L. Miller, Jr.
                                       Judge
                                       United States District Court
